                  Case 1-20-40889-ess           Doc 23      Filed 08/20/20       Entered 08/20/20 14:29:11




                                   UNITED STATES BANKRUPTCY COURT
                                    EASTERN DISTRICT OF NEW YORK

IN RE: Making A Difference Day Care Inc.                         CASE NO: 20-40889
                                                                 DECLARATION OF MAILING
                                                                 CERTIFICATE OF SERVICE
                                                                 Chapter: 11




On 8/20/2020, I did cause a copy of the following documents, described below,
Notice of Settlement of Dismissal Order




to be served for delivery by the United States Postal Service, via First Class United States Mail, postage prepaid, with
sufficient postage thereon to the parties listed on the mailing list exhibit, a copy of which is attached hereto and incorporated
as if fully set forth herein.
I caused these documents to be served by utilizing the services of BK Attorney Services, LLC d/b/a certificateofservice.com,
an Approved Bankruptcy Notice Provider authorized by the United States Courts Administrative Office, pursuant to Fed.R.
Bankr.P. 9001(9) and 2002(g)(4). A copy of the declaration of service is attached hereto and incorporated as if fully set forth
herein.
Parties who are participants in the Courts Electronic Noticing System ("NEF"), if any, were denoted as having been served
electronically with the documents described herein per the ECF/PACER system.
DATED: 8/20/2020
                                                           /s/ Norma Ortiz
                                                           Norma Ortiz 2206530
                                                           Ortiz & Ortiz, LLP
                                                           3272 Steinway Street
                                                           Astoria, NY 11103
                                                           718 522 1117
                     Case 1-20-40889-ess              Doc 23        Filed 08/20/20         Entered 08/20/20 14:29:11




                                        UNITED STATES BANKRUPTCY COURT
                                         EASTERN DISTRICT OF NEW YORK

 IN RE: Making A Difference Day Care Inc.                               CASE NO: 20-40889

                                                                        CERTIFICATE OF SERVICE
                                                                        DECLARATION OF MAILING
                                                                        Chapter: 11




On 8/20/2020, a copy of the following documents, described below,

Notice of Settlement of Dismissal Order




were deposited for delivery by the United States Postal Service, via First Class United States Mail, postage prepaid, with sufficient postage thereon
to the parties listed on the mailing list exhibit, a copy of which is attached hereto and incorporated as if fully set forth herein.

The undersigned does hereby declare under penalty of perjury of the laws of the United States that I have served the above referenced document
(s) on the mailing list attached hereto in the manner shown and prepared the Declaration of Certificate of Service and that it is true and correct to
the best of my knowledge, information, and belief.

DATED: 8/20/2020




                                                                            Jay S. Jump
                                                                            BK Attorney Services, LLC
                                                                            d/b/a certificateofservice.com, for
                                                                            Norma Ortiz
                                                                            Ortiz & Ortiz, LLP
                                                                            3272 Steinway Street
                                                                            Astoria, NY 11103
                Case 1-20-40889-ess        Doc 23     Filed 08/20/20      Entered 08/20/20 14:29:11
PARTIES DESIGNATED AS "EXCLUDE" WERE NOT SERVED VIA USPS FIRST CLASS MAIL
PARTIES WITH A '+' AND DESIGNATED AS "CM/ECF E-SERVICE" RECEIVED ELECTRONIC NOTICE THROUGH THE CM/ECF SYSTEM

DONNA REID                               GRANT GLOBAL DEVELOPMENT INC.            KABBAGE INC.
306 GRAFTON ST.                          C/O ORTIZ & ORTIZ LLP                    PO BOX 77081
BROOKLYN NY 11212-4006                   32-72 STEINWAY STREET STE. 402           ATLANTA GA 30357-1081
                                         ASTORIA NY 11103-4183




NYS TAX & FINANCE                        NICOLE BRAMBLE                           CHARLES WERTMAN
BANKRUPTCY SECTION                       669 ROCKAWAY PKWY                        LAW OFFICES OF CHARLES WERTMAN P.C.
PO BOX 5300                              BROOKLYN NY 11236-1454                   100 MERRICK ROAD
ALBANY NY 12205-0300                                                              SUITE 304W
                                                                                  ROCKVILLE CENTRE NY 11570-4807




GRANT GLOBAL DEVELOPMENT INC.            CRYSTAL WILLIAMS                         FELECIA JOHNSON
C/O ORTIZ & ORTIZ LLP                    11909 LONG ST                            KATZ MELINGER PLLC
3272 STEINWAY STREET                     JAMAICA NY 11434-2127                    280 MADISON AVENUE SUITE 600
STE 402                                                                           NEW YORK NY 10016-0830
ASTORIA NY 11103-4183




GRANT GLOBAL DEVELOPMENT                 KATZ MELINGER PLLC                       NEW YORK STATE DEPARTMENT OF LABOR
YVONNE E. GARDENER P.C.                  ADAM SACKOWITZ                           STATE OFFICE BUILDING CAMPUS
261 E 57TH ST.                           280 MADISON AVENUE SUITE 600             BUILDING 12 - ROOM 266A
BROOKLYN NY 11203-4801                   NEW YORK NY 10016-0830                   ALBANY NY 12240-0001




NICOLE BRAMBLE                           MAKING A DIFFERENCE DAYCARE INC.         DEBRA MORGAN
C/O ROSENBERG MUSSO & WEINER LLP         669 ROCKAWAY PKWY                        156 E 89TH ST.
26 COURT STREET SUITE 2211               BROOKLYN NY 11236-1454                   BROOKLYN NY 11236-1234
BROOKLYN NEW YORK 11242-1122




FELICIA JOHNSON                          INTERNAL REVENUE SERVICE                 NYS DEPARTMENT OF LABOR
KATZ MELINGER PLLC                       CENTRALIZED INSOLVENCY OP                WA HARRIMAN CAMPUS
280 MADISON AVE RM 600                   PO BOX 7346                              BLDG 12 ROOM 256
NEW YORK NY 10016-0830                   PHILADELPHIA PA 19101-7346               ALBANY NY 12240-0001




NEW YORK STATE DEPARTMENT OF TAXATION    OFFICE OF THE UNITED STATES TRUSTEE
& FINA                                   EASTERN DISTRICT OF NY (BROOKLYN
BANKRUPTCY SECTION                       OFFICE)
P O BOX 5300                             U.S. FEDERAL OFFICE BUILDING
ALBANY NEW YORK 12205-0300               201 VARICK STREET SUITE 1006
                                         NEW YORK NY 10014-4811
